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                                                                    U.S. DISTRICT COURT
                                                                        N.D. OF ALABAMA




              Exhibit A
       Case
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                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA


                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION


IN RE: BLUE CROSS BLUE SHIELD                  }      Master File No.: 2:13-CV-20000-RDP
                                               }
ANTITRUST LITIGATION                           }      This document relates to all cases.
(MDL NO.: 2406)                                }

                         THIRD AMENDED SCHEDULING ORDER

       This matter is before the court on Subscriber Plaintiffs’ Motion to Continue Class

Certification Deadlines. (Doc. # 1546). After careful consideration and consultation with Judge

Putnam regarding the status of discovery, it is ORDERED as follows:

       1.     Subscriber Plaintiffs’ Motion to Continue Class Certification Deadlines. (Doc. #

1546) is GRANTED.

       2.     By now, based upon the previous deadlines, discovery should be substantially

completed.

       3.     Fact discovery in the prioritized proceedings SHALL be completed by December

1, 2017. This extension of the discovery period is designed to allow the parties time to conclude

discovery already initiated. The extended deadline SHALL NOT be used as an opportunity

to initiate any new discovery.

       4.     Class Certification Discovery:

              a.        Class certification expert discovery is to be commenced in time to allow

              the parties to meet all deadlines set forth below.

              b.        All reports from retained experts on class certification under Fed. R. Civ.

                        P. 26(a)(2):

                       Due from Plaintiffs upon filing of any class certification motion;
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                      Due from Defendants upon filing of any opposition to class certification

                       motion;

                      Rebuttal due from Plaintiffs upon filing of any reply to class certification

                       motion.

                      The parties SHALL complete the depositions of any expert on class

                       certification issues within thirty (30) days of receipt of the expert’s

                       report provided that any deposition regarding a rebuttal report SHALL be

                       taken within fourteen (14) days of service of the rebuttal report.

       5.      Class Certification Motions: Motions for class certification and materials in

support SHALL be filed on or before January 15, 2018. The parties are reminded that early

filing does not mean that the Motion will receive independent consideration by the court.

                  Opposition briefs SHALL be due on or before April 3, 2018.

                  Reply briefs SHALL be due on or before May 18, 2018.

       6.      Any Daubert motions seeking to exclude any class certification expert witness

SHALL be filed within seventy-five days of disclosure of the expert’s report.

                  Opposition briefs SHALL be filed within forty-five days of any Daubert

                   Motion.

                  Reply briefs SHALL be filed within forty-five days of any opposition brief.

       7.      Damages and Merits Expert Reports and Discovery are:

                  Due from Plaintiffs on or before January 31, 2018.

                  Due from Defendants on or before April 3, 2018.

                  Rebuttals due from Plaintiffs on or before May 18, 2018.




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                  The parties SHALL complete the deposition of any expert on merits and

                   damages issues within thirty (30) days of that expert’s report provided that

                   any deposition regarding a rebuttal report SHALL be taken within eighteen

                   (18) days of service of the rebuttal report.

       14.     Dispositive Motions: All potentially dispositive motions on issues of liability and

materials in support and supporting expert reports under Fed. R. Civ. P. 26(a)(2) are due on or

before April 13, 2018. The parties will meet and confer as to an appropriate briefing schedule

after such a Motion or Motions is filed, and present a schedule or competing proposals to the

court within 7 days after the filing of any potentially dispositive motion.

       15.     Pretrial Conference and Trial: The court will set a pretrial conference at its

discretion a reasonable time after the ruling on class certification and/or dispositive motions.

       DONE and ORDERED this September 21, 2017.



                                              _________________________________
                                              R. DAVID PROCTOR
                                              UNITED STATES DISTRICT JUDGE




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